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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA
                                             )         CASE NO. 8:18CR166
UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )
                                             )                     ORDER
       -vs-                                  )
                                             )
Francisco Leyva-Vallapudua,                  )
                                             )
                     Defendant.              )

       This matter comes before the Court on the request of the Federal Public

Defender for the Court to authorize Emily A. Weiss, as a Criminal Justice Act Training

Panel Member, to assist in the defense of Francisco Leyva-Vallapudua.

       Accordingly, pursuant to the terms of Appendix I, Part 1(c) of the Amended

Criminal Justice Act Plan for the District of Nebraska, Emily A. Weiss is hereby

assigned to assist Kelly M. Steenbock in the representation of the Defendant in the

above-captioned case, and must file an entry of appearance forthwith. Emily A. Weiss

shall not be eligible to receive compensation for her services in this case.

       AFPD Kelly M. Steenbock shall continue to be primary counsel on behalf of the

Defendant, Francisco Leyva-Vallapudua.

       Dated: July 13, 2018

                                                  BY THE COURT:

                                                  s/ Susan M. Bazis
                                                  United States Magistrate Judge
